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                 EXHIBIT C
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IP and Antitrust: An Analysis of Antitrust Principles Applied to Intellectual
Property Law - Hovenkamp, Janis, Lemley, Leslie and Carrier, §
5.05, ANTITRUST ALLEGATIONS AS COMPULSORY COUNTERCLAIMS IN
ENFORCEMENT LITIGATION (RULE 13(a))
IP and Antitrust: An Analysis of Antitrust Principles Applied to Intellectual Property Law - Hovenkamp, Janis,
Lemley, Leslie and Carrier
Herbert Hovenkamp, Mark D. Janis, Mark A. Lemley, Christopher R. Leslie & Michael A. Carrier, IP and Antitrust:
An Analysis of Antitrust Principles Applied to Intellectual Property Law § 5.05 (3rd Edition, 2021 Supp. 2016)
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Because intellectual property/antitrust cases generally feature complex constellations of factual and legal issues,
they tend to present courts
                                                                                                                 p. 5-80
                                                      [297]
with an “unenviable task of trial management.”         Frequently this task includes a decision as to whether
antitrust counterclaims are compulsory to intellectual property claims under Rule 13, Federal Rules of Civil
Procedure. As explored below, this analysis has often proven irksome. Section 5.06 addresses another issue
of trial management: the court's discretion under Rule 42(b) of the Federal Rules of Civil Procedure to separate
intellectual property issues from antitrust issues for trial.

[A] Overview of Rule 13; “Logical Relationship” Test
Rule 13 of the Federal Rules of Civil Procedure establishes the distinction between compulsory and permissive
counterclaims. Rule 13(a) states, in relevant part, that a pleading “must” state a counterclaim if the counterclaim
“arises out of the transaction or occurrence that is the subject matter of the opposing party's claim.…” [298] Rule
13(b) sets forth the alternative: a pleading “may” state a counterclaim where the counterclaim is not compulsory.
[299]
        A litigant who fails to plead a compulsory counterclaim may not raise the claim in any subsequent action.
[300]

                                                                                                                 p. 5-80
                                                                                                                 p. 5-81
Courts have interpreted the language of Rule 13(a) broadly, applying a “logical relationship” standard that
sweeps even multiple discrete “occurrences” within the scope of the rule if they are “logically related.” [301] Courts
often assess the presence of a logical relationship between claims by considering whether the claims involve
many of the same factual and legal issues, or are oﬀshoots of the same basic controversy between the parties.
[302]

Courts and commentators frequently cite judicial economy as one principal rationale underlying Rule 13(a),
asserting that claims arising from the same transaction or occurrence should be tried in a single action in order to
avoid ineﬃcient duplication of eﬀort and to encourage settlement. [303] From the litigants' perspective, Rule 13(a)
may limit the opportunity for harassment by multiple lawsuits. [304]

[B] The Mercoid “Exception”

In Mercoid, [305] the Supreme Court refused to apply the compulsory counterclaim rule to bar a patent misuse
counterclaim in a patent
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Glitsch responded by ﬁling a separate declaratory judgment action raising the same antitrust allegations. The
trial court, refusing to countenance Glitsch's eﬀort to make an end-run around the previous order, granted Koch
summary judgment, and Glitsch appealed.
On appeal, Glitsch argued that Mercoid created a special exception allowing Glitsch to use the declaratory
judgment action to circumvent the original order. Speciﬁcally, Glitsch maintained that Mercoid conferred special
status on intellectual property misuse, allowing it to be used, even by way of collateral attack when rejected in an
earlier action because intellectual property misuse vindicated important public policy interests.
The Federal Circuit readily disposed of this argument, but only after oﬀering a “careful reading” of Mercoid.
According to the Federal Circuit, a careful reading revealed that the Mercoid ruling


      was based on its determination that the public policy of preventing patent misuse outweighed the
      public policy underlying the doctrine of res judicata, at least as applied on the facts of that case. [371]


                                                                                                                    p. 5-97
                                                                                                                    p. 5-98
While Mercoid had involved “two successive coercive actions” in which Mercoid had no opportunity to raise its
patent misuse defense in the ﬁrst, Glitsch could have pressed its antitrust allegations in the ﬁrst action, even if
only by way of appeal. Accordingly, on these facts, the public policy against collateral attack outweighed any
public policy in favor of special status for patent misuse declaratory judgment allegations. As the Federal Circuit
summarized it:


      The reasoning of Mercoid makes clear that a party that did not raise the issue of patent misuse in one
      action may raise that issue in another action based on a separate assertion of infringement, whether
      as a defense against the claim of infringement or in a request for declaratory relief. But the rationale
      of Mercoid does not justify allowing a party to launch a collateral attack on a ruling in the ﬁrst action,
      the eﬀect of which would be to alter the judgment in that action. [372]


The summary is especially signiﬁcant if it is read as accepting the Mercoid rule at least as applied to
counterclaims styled as patent misuse allegations. Unfortunately, the court did not make any reference to the
conﬂicting decisions on the applicability of Mercoid.
The Federal Circuit also dealt with the impact of the Mercoid exception in U.S. Philips Corp. v. Sears & Roebuck
& Co., [373] but the case is unlikely to be of great precedential value. In a ﬁrst case, Philips sued Windmere and
Izumi for patent infringement; Windmere and Izumi counterclaimed for misuse and antitrust violations. While the
ﬁrst case was proceeding, Philips initiated a second case against Sears and Izumi for infringement of the same
patents, and Izumi sought to interpose the same antitrust counterclaims, arguing that antitrust counterclaims
were permissive and that Izumi had the “absolute right to choose when and where to
                                                                                                                    p. 5-98
                                                                                                                    p. 5-99
                  [374]                                                                                 [375]
litigate them.”           The Federal Circuit refused to extend the Mercoid exception to these facts.

[6] Observations; Suggestions for Future Treatment of Antitrust Counterclaims
in Patent Cases
To summarize our observations developed in the preceding subsections, we are not persuaded that the
decades-long eﬀort to apply limiting gloss to Mercoid has yielded suitable rules. The Mercoid exception should


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be eliminated and antitrust and misuse counterclaims in patent cases should be subjected to the standard Rule
13 analysis, applying the “logical relationship” test. [376]
We expect that the logical relationship test will usually be satisﬁed, and counterclaims therefore deemed
compulsory, in patent cases where the patent misuse or antitrust counterclaims are based on the patentee's
actions in connection with the patent-in-suit. [377] We believe that most patent cases involving antitrust claims will
ﬁt this pattern.
Where counterclaims are designated compulsory under our approach, claimants will ordinarily be barred from
ﬁling such counterclaims in a later-ﬁled action, or after pleading deadlines in an original action. However, this
assumes that prior to the expiration of those deadlines, there existed an arguable factual or legal basis for the
counterclaim. Where no such basis existed prior to the expiration of the deadlines, no bar should be raised. If the
original suit is still pending when the claimant discovers the basis for the counterclaim, the court should generally
allow
                                                                                                                  p. 5-99
                                                                                                                p. 5-100
the claimant leave to amend the pleadings. If the original suit has been terminated when the claimant discovers
the basis for the counterclaim, the court should generally allow the claimant to plead the counterclaim in a
separate action. [378]
Courts should be wary of accepting shortcuts in applying the logical relationship test to misuse and antitrust
counterclaims in patent cases. Speciﬁcally, courts should reject any bright-line rule that patent misuse claims
are unrelated to patent issues for purposes of Rule 13. We reject the suggestion that patent misuse theories are
generally distinct from patent validity and infringement issues. [379] Patent misuse may routinely be connected
to patent infringement. For example, patent misuse theories that are based on tying allegations may require a
determination as to what constitutes a staple product under 35 U.S.C. § 271(c). They may also be intertwined
with the repair/reconstruction determination, which is basic to the analysis of direct infringement. [380] Patent
misuse may also involve questions of validity or enforceability, as where patent misuse allegations are based
upon bad faith enforcement. [381]
Courts should also reject any notion that a Rule 42(b) analysis on whether to separate patent issues from
antitrust issues for trial should be determinative of the Rule 13 compulsory counterclaim issue. While it is true
judicial eﬃciency should be taken into account in both determinations,
                                                                                                                p. 5-100
                                                                                                               p. 5-100.1

Rule 13 and Rule 42(b) need not operate in lock-step. [382] Indeed, we expect that thoughtful application of both
rules in most patent/antitrust
                                                                                                               p. 5-100.1
                                                                                                                p. 5-101
cases will lead courts to declare that many antitrust counterclaims are compulsory (ensuring that the patent
issues and the antitrust issues will be pled in one proceeding), but that the patent issues and the antitrust issues
will be set for separate trials under Rule 42(b) as a matter of sound trial management. [383] That patent issues
are suﬃciently connected to antitrust issues to trigger Rule 13(a) in a given case should not mean that courts
automatically lose their discretion over the management of trial in such cases. [384]

[C] Compulsory Antitrust Counterclaims in Nonpatent Intellectual Property/
Antitrust Cases
The Rule 13(a) issue also arises in intellectual property/antitrust cases outside the patent context. Courts in
these cases have generally refused to extend Mercoid itself, or Mercoid's reasoning, beyond patent/antitrust.

[1] Antitrust Counterclaims in Lanham Act Cases
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374   Id. at 595.
375   Id. at 596 (“ Mercoid did not hold that the same antitrust claim could be fully litigated a second time, if it were
      raised and litigated by a related party in the ﬁrst action”).
376   Under the Nobelpharma choice of law analysis, it would seem that the compulsory counterclaim rule for
      patent/antitrust cases would be decided as a matter of Federal Circuit law, understanding, of course, that the
      Federal Circuit is bound by Supreme Court precedent. See § 5.03[A][3].
377   For a similar view, see John J. Barnhardt III, Counterclaiming in Patent Infringement Litigation, 15 AIPLA
      Q.J. 175, 178 (1987) (asserting that “[i]t is likely that counterclaims directed to antitrust violations … directly
      involving patents on which the patentee has brought its suit … will be deemed ‘compulsory’” and that the issue
      would be “virtually free from doubt” were it not for Mercoid).
378   These considerations may be particularly important in cases involving Walker Process or sham litigation
      counterclaims. See § 11.03[B][6][a]. In Ragner Techn. Corp. v. Berardi, 2018 WL 6804486 (D.N.J. Dec. 27,
      2018), the court found a Walker Process counterclaim to be compulsory, but rather than dismissing with
      leave to plead the counterclaim in a prior-ﬁled action, the court stayed its proceedings in view of the prior-ﬁled
      proceedings. The resolution of an inventorship dispute in the prior-ﬁled proceeding would necessarily decide
      facts aﬀecting the Walker Process claim, so judicial economy would be served by a stay, the court reasoned.
379   Cf. Donahey, 39 IDEA J. L. & Tech., at 516 (asserting that in contrast to Walker Process and Handgards
      claims, “misuse and other more economically-oriented antitrust counterclaims would seem generally to be
      distinct in nature and substance from patent validity and infringement issues” and therefore should usually be
      deemed permissive).
380   See § 3.03[A][2]. Tying allegations form the basis for patent misuse theories in the majority of misuse cases.
      Id.
381   See § 3.03[C][2].
382   See, e.g., Charles A. Wright and Arthur R. Miller, 9 Fed. Prac. & Proc. Civ. 2d § 2389 (1990) (“the district
      judge may order a separate trial of independent issues raised by a compulsory or permissive counterclaim
      under Rule 13(a) or 13(b)…”) [hereinafter Fed. Prac. & Proc. Civ. 2d]. The very existence of Rule 13(i) seems
      consistent with the proposition that a compulsory counterclaim analysis under Rule 13(a) is not necessarily
      determinative of an issue separation analysis under Rule 42(b), even if some of the underlying considerations
      are the same. See Wright, Miller & Kane, 6 Fed. Prac. & Proc. Civ.2d at § 1437 (“In many ways, Rule 13(i) is
      little more than a cross reference to Rules 42(b) and 54(b), thereby assuring the parties that those rules do
      apply in the counterclaim and cross-claim situations and informing the court of its extensive discretion to shape
      the action as it sees ﬁt”) (footnotes omitted).
383   See § 5.06 for relevant considerations in the application of Rule 42(b).
384   Cf. Donahey, 39 IDEA J. L. & Tech., at 516 (arguing that if judicial eﬃciency is promoted by trying patent and
      antitrust claims separately, it would be “inappropriate and illogical” to ﬁnd antitrust claims compulsory to patent
      claims).
385   Harley-Davidson Motor Co. v. Chrome Specialties, Inc., 173 F.R.D. 250 (E.D. Wis. 1997).
386   Id. at 252.
387   Id. at 253.
388   Minnetonka, Inc. v. Sani-fresh Int'l, Inc., 103 F.R.D. 377 (D. Minn. 1984).
389   The court cited Lanham Act § 33(b)(7) [15 U.S.C. § 1115(b)(7)], which provides that antitrust allegations can
      be raised even as to trademark registrations that have become incontestable. See Chapter 2 for a general
      discussion of the concept of incontestability in trademarks.
390   Grumman Systems Support Corp. v. Data General Corp., 125 F.R.D. 160 (N.D. Cal. 1988).
391   Id. at 162.
392   Mead Data Central, Inc. v. West Pub. Co., 679 F. Supp. 1455 (S.D. Oh. 1987).

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11.03, ANTICOMPETITIVE LITIGATION CLAIMS
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Herbert Hovenkamp, Mark D. Janis, Mark A. Lemley, Christopher R. Leslie & Michael A. Carrier, IP and Antitrust:
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                                                                                                                   p. 11-30


[A] Introduction; Nature of the Claim
In the previous section, we considered the problem of enforcing patents improperly obtained through fraud. In
this section we consider a somewhat diﬀerent issue: the enforcement of an intellectual property right that, while
not obtained by fraud, is known by its owner at the time of enforcement to be invalid, [114] unenforceable, or not
to be infringed.
                                                                                                                   p. 11-30
                                                                                                                  p. 11-30.1
Because the intellectual property right in this set of cases was not itself obtained through fraud, the focus in this
section will be on the nature of the enforcement action itself, not on an intellectual property owner's behavior
before the Patent and Trademark Oﬃce (PTO).
The canonical case of anticompetitive litigation—and the one that gives the doctrine its name—is Handgards,
Inc. v. Ethicon, Inc. [115] In Handgards, Ethicon owned two patents relating to the manufacture of surgical gloves
with paper inserts. It asserted these patents against Handgards and others in the industry. Ethicon voluntarily
dismissed one of its patents from suit before trial, and the other patent was held invalid. After the verdict in the
patent case, Handgards ﬁled suit alleging that Ethicon had violated the antitrust laws by engaging in its patent
litigation in “bad faith.”
The court noted that “patentees must be permitted to test the validity of their patents in court through actions
against alleged infringers.” [116] It identiﬁed as the critical problem for such anticompetitive litigation cases “to
provide the means whereby the bad faith infringement action
                                                                                                                  p. 11-30.1
                                                                                                                  p. 11-30.2
can be identiﬁed post hoc with a suﬃciently high degree of certainty to make it highly improbable that the
action in fact was brought in good faith.” [117] The court sought to supply such a means by establishing a strong
presumption against a ﬁnding of bad faith litigation. [118]
Since Handgards was decided, the Supreme Court has set forth the standards for maintaining such a claim in
more detail. [119] The Court's test is somewhat stricter than the Ninth Circuit's test in Handgards. It is presented
in the context of Noerr-Pennington immunity, a subject to which we now turn.

[B] Noerr-Pennington Immunity

[1] Background and Basis
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early in the litigation. Further, if the court agrees to bifurcate the case, it may make sense to defer all antitrust
discovery until after the infringement dispute is resolved. [272] But it will not always be possible to
                                                                                                                    p. 11-70.1
                                                                                                                    p. 11-70.2
wait, and antitrust claimants should have a full opportunity to conduct discovery on the issue of intent—though
they should not be permitted to introduce that evidence unless they can demonstrate objective baselessness as
well.
(D) Pleading requirements. Although the normal rule for pleading is that a complaint need only give notice of
the issues to be litigated, Federal Rule of Civil Procedure 9(b) requires that allegations of fraud be pled with
particularity. This is a procedural requirement designed to deter plaintiﬀs from making such allegations lightly; it
is distinct from the proof required on the merits. Walker Process claims must be pled with particularity because
they involve allegations that the patentee knowingly defrauded the PTO. By contrast, sham litigation claims do
not require proof of fraud in the same sense, though the requirement of improper motivation may suggest some
minimum level of deceit. Nonetheless, one court has held that Rule 9(b) requires sham litigation claims to be
pled with particularity as well. [273] In that case, the plaintiﬀs ﬁled claims for trademark infringement as well as a
UDRP proceeding in an eﬀort to transfer the defendant's domain name. The defendant alleged that these claims
were “meritless” and that the marks were “unenforceable” and “generic,” but the district court dismissed the
complaint for failure to plead with suﬃcient particularity. [274] The Formula One requirement does serve to weed
out sham litigation claims at an early stage, but it sets pleading requirements that may be very diﬃcult to meet,
particularly at the outset of litigation. [275] Courts would be well advised not to require too high a standard. [276]
As one court put it, “The requirement for particularity
                                                                                                                    p. 11-70.2
                                                                                                                    p. 11-70.3
in pleading fraud does not demand an exhaustive cataloging of facts, but only speciﬁcity suﬃcient to provide
assurance that plaintiﬀ has
                                                                                                                    p. 11-70.3
                                                                                                                     p. 11-71
                                                                                         [277]
investigated the alleged fraud and reasonably believes that a wrong has occurred.”


Footnotes
114   While there is substantial overlap between the category of patents obtained by fraud and that of rights known
      to be invalid when enforced, the overlap is far from complete. First, the latter category includes copyrights,
      trademarks and trade secrets, see Professional Real Estate Investors v. Columbia Pictures, 508 U.S. 49
      (1993) (copyrights); CVD, Inc. v. Raytheon Co., 769 F.2d 842 (1st Cir. 1985) (trade secrets), Clorox Co. v.
      Inland Empire Wholesale Grocers, 874 F. Supp. 1065 (C.D. Cal. 1994) (trademarks); The Scooter Store,
      Inc. v. SpinLife.com.LLC, 777 F. Supp. 2d 1102 (S.D. Ohio 2011) (“[U]sing litigation unlawfully to extend
      trademarks or to destroy competition is anticompetitive conduct.”), while the Walker Process category does
      not. But see Southern Snow Mfg. Co., Inc. v. SnoWizard Holdings, Inc., 2013 WL 620266 (E.D. La. 2013)
      (allowing antitrust claim for attempted enforcement of allegedly fraudulently procured trademark). Second,
      a patentee may obtain a patent in good faith and only later learn that the patent was invalid (for example,
      because of a mistaken understanding of the law relating to on-sale bars, or because it later discovered
      anticipating prior art).
      Courts tend to examine whether an infringement claim is objectively baseless at the time that the lawsuit
      was initiated. See Handgards Inc. v. Ethicon Inc., 743 F.2d 1282, 1288-1289 (9th Cir. 1984); GlobalTap LLC
      v. Smart Tap LLC, No. 13 C 5322, 2015 WL 791256, at *6 (N.D. Ill. Feb. 24, 2015) (noting that the antitrust
      plaintiﬀ “must allege that there was no basis, at the time the complaint was ﬁled, for concluding that any
      theory in [the antitrust defendant’s infringement] Complaint would survive”) (emphasis added). However,
      even if the ﬁling of the lawsuit was objectively reasonable, if the IP owner becomes aware during the course

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      of the infringement litigation that the lawsuit is objectively baseless and continues to pursue the lawsuit in
      order to harm its competitor through the litigation process, the litigation could be considered a sham for
      antitrust purposes. See Saami Zain, Antitrust Liability For Maintaining Baseless Litigation, 54 Santa Clara
      L. Rev. 729, 730 (2014) (“As modern litigation is often lengthy, complex, and resource intensive, it is not
      improbable that, regardless of the merits of the action when ﬁled, at some point in the litigation process, it may
      become manifestly evident that no reasonable litigant could expect success on the merits. And at that point,
      maintaining the action is likely to be objectively baseless and unjustiﬁable.”).
115   601 F.2d 986 (9th Cir. 1979).
116   Id. at 993.
117   Id.
118   Id. at 996 (“a patentee’s infringement suit is presumptively in good faith and this presumption can be rebutted
      only by clear and convincing evidence.”).
119   Professional Real Estate Investors. v. Columbia Pictures, 508 U.S. 49 (1993).
120   For a detailed treatment of the Noerr-Pennington or antitrust immunity doctrine, see 1 Antitrust Law ¶¶201
      - 212 For a discussion of the doctrine in the context of intellectual property, see id. ¶709; James B. Kobak,
      Professional Real Estate Investors and the Future of Patent-Antitrust Litigation: Walker Process and
      Handgards Meet Noerr-Pennington, 63 Antitrust L.J. 185 (1994); Charles C. Hsieh, Professional Real
      Estate: The Line Between Patent and Antitrust, 7 Harv. J.L. & Tech. 173 (1993); Mark A. Lemley, Antitrust
      Counterclaims in Patent and Copyright Infringement Cases, 3 Tex. Intell. Prop. L.J. 1 (1994); Michael Chu,
      Note, An Antitrust Solution to the New Wave of Predatory Patent Infringement Litigation, 33 Wm. & Mary L.
      Rev. 1341 (1992).
121   See Eastern R.Rs. President's Conf. v. Noerr Motor Freight, 365 U.S. 127, 144 (1961); United Mine Workers
      v. Pennington, 381 U.S. 657 (1965).
122   See, e.g., David McGowan & Mark A. Lemley, Antitrust Immunity: State Action and Federalism, Petitioning
      and the First Amendment, 17 Harv. J.L. & Pub. Pol’y 293 (1994). Other explanations for the doctrine have
      been oﬀered, including the supposed “dissimilarity” between ﬁling a lawsuit and anticompetitive conduct. It
      is the First Amendment's right to petition that seems the most plausible concern, however. The First Circuit's
      decision in Darvic ME Corp. v. Rancourt, 216 F.3d 143 (1st Cir. 2000) traces the conﬂict over the source of the
      doctrine.
123   See, e.g., Professional Real Estate Investors v. Columbia Pictures, 508 U.S. 49 (1993); California Motor
      Transport v. Trucking Unlimited, 404 U.S. 508 (1972).
124   See Pearson Educ. v. Allen Air Conditioning, 2014 WL 2154099 (S.D.N.Y. May 22, 2014) (granting motion to
      dismiss because “[t]here is nothing unlawful regarding Publishers’ coordinated commencement of litigation to
      protect their copyrights from a similar course of conduct—even if that litigation fails. Such activity is protected
      by the Noerr-Pennington doctrine …”).
125   See Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S. 492 (1988).
126   For more detail on this point, see § 11.04.
127   508 U.S. at 49.
128   Id. at 51-52.
129   Id. at 62 (aﬃrming grant of summary judgment against PREI on its antitrust claim).
130   Id. at 60.
131   Id. at 60-61 (emphasis in original).
132   Id. at 61.
      The Federal Circuit had previously held that the section of the patent statute providing for the award of
      attorneys’ fees to the prevailing party in “exceptional cases,” 35 U.S.C.A. § 285, required application of the
      PREI test, such that “[a]bsent misconduct in conduct of the litigation or in securing the patent, sanctions may
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